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13

14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16   AMANDA FRLEKIN, AARON GREGOROFF,               Case No. 13cv03451-WHA
     SETH DOWLING, DEBRA SPEICHER; AND
17   TAYLOR KALIN, on behalf of themselves and
     all others similarly situated,                 JOINT STIPULATION TO VACATE
18                                                  DEADLINES, STAY ALL
                             Plaintiffs,            PROCEEDINGS, AND PERMIT 34-
19                                                  DAY NOTICE; PROPOSED ORDER
            v.
20
     APPLE INC.,                                    Place:      Ctrm. 12, 19th Floor
21                           Defendant.             Judge:      Hon. William Alsup

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                                                             Case No. 13-cv-03451 WHA
        JOINT STIPULATION TO VACATE DEADLINES, STAY ALL PROCEEDINGS, AND PERMIT 34-
                                                       DAY NOTICE; PROPOSED ORDER
     WEST/296639855
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 1          Pursuant to Local Rule 7-12, Plaintiffs Seth Dowling, Aaron Gregoroff, Taylor Kalin, and

 2   Debra Speicher on the one hand, and Defendant Apple Inc. on the other hand, by and through their

 3   counsel of record, hereby stipulate, subject to the Court’s approval, to: (1) vacate all litigation

 4   deadlines for this case, including the third-party administrator’s November 15, 2021 deadline to

 5   serve the notice of claims procedure and claim form to class members; (2) stay all proceedings in

 6   this action, except such proceedings that are necessary to obtain preliminary and final approval of

 7   the parties’ class-wide settlement; and (3) permit Plaintiffs’ Motion for Preliminary Approval of

 8   Class Action Settlement (“Motion for Preliminary Approval”) (Dkt. No. 416) to be heard on

 9   December 16, 2021 on 34 days’ notice. The parties base their requests on the following:

10          WHEREAS, on April 14, 2021, the Court ordered that notice of the claims procedure and

11   claim form be disseminated to class members (Dkt. No. 407);

12          WHEREAS, the Court has on multiple occasions extended the deadline for the third-party

13   administrator to serve the notice of claims procedure and claim form to class members to allow the

14   parties to negotiate the terms of their settlement agreement, with the most recent order extending

15   the deadline to November 15, 2021 (Dkt. Nos. 409, 411, 413, 415);

16          WHEREAS, as described in Plaintiffs’ Motion for Preliminary Approval and the Joint

17   Declaration of Lee S. Shalov and Kimberly A. Kralowec filed in support thereof (Dkt. Nos. 416,

18   416-1), filed on November 12, 2021, the parties have executed an agreement to settle this action on

19   a class-wide basis, subject to the Court’s approval;
20          WHEREAS, as part of the settlement agreement, the parties agreed, “[s]ubject to Court

21   approval, . . . to stay all proceedings in the Action, except such proceedings necessary to implement

22   and complete the Settlement, pending the Final Approval Hearing to be conducted by the Court[]”

23   (Dkt. No. 416-2, ¶ 3.7.6);

24          WHEREAS, Local Rule 7-2(a) provides, in part, “Except as otherwise ordered or permitted

25   by the assigned Judge or these Local Rules, . . . all motions must be filed, served and noticed in

26   writing on the motion calendar of the assigned Judge for hearing no less than 35 days after filing of
27   the motion[]”; and

28                                                     1
                                                             Case No. 13-cv-03451 WHA
        JOINT STIPULATION TO VACATE DEADLINES, STAY ALL PROCEEDINGS, AND PERMIT 34-
                                                       DAY NOTICE; PROPOSED ORDER
     WEST/296639855
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 1          WHEREAS, Plaintiffs noticed the hearing on their Motion for Preliminary Approval for

 2   December 16, 2021, which is 34 days after the filing of their Motion for Preliminary Approval.

 3          THEREFORE, the parties request that the Court issue an order (1) vacating all litigation

 4   deadlines for this case, including the third-party administrator’s November 15, 2021 deadline to

 5   serve the notice of claims procedure and claim form to class members; (2) staying all proceedings

 6   in this action, except such proceedings that are necessary to obtain preliminary and final approval

 7   of the parties’ class-wide settlement; and (3) permitting Plaintiffs’ Motion for Preliminary Approval

 8   (Dkt. No. 416) to be heard on December 16, 2021 on 34 days’ notice.

 9
     Dated: November 12, 2021                        DLA PIPER LLP (US)
10

11                                                   By:     /s/ Matthew Riley
12                                                         JULIE DUNNE
                                                           MATTHEW RILEY
13
                                                           Attorneys for Defendant Apple Inc.
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15
     Dated: November 12, 2021                        McLAUGHLIN & STERN, LLP
16

17
                                                     By:     /s/ Lee Shalov
18                                                         LEE SHALOV

19                                                   Attorneys for Plaintiffs and the Class

20
                                                  ATTESTATION
21

22          In accordance with Local Rule 5-1(i)(3), I attest that the other Signatories named above have

23   concurred in the filing of this document.

24   Dated: November 12, 2021                     DLA PIPER LLP (US)
25
                                                 By: /s/ Matthew Riley
26                                                  Matthew Riley
                                                    Attorney for Defendant
27                                                  APPLE INC.
28                                                     2
                                                             Case No. 13-cv-03451 WHA
        JOINT STIPULATION TO VACATE DEADLINES, STAY ALL PROCEEDINGS, AND PERMIT 34-
                                                       DAY NOTICE; PROPOSED ORDER
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 1                                         [PROPOSED] ORDER

 2          Pursuant to the parties’ stipulation, the Court finds good cause exists to order the following:
 3          1.        All litigation deadlines for this case, including the third-party administrator’s
 4                    November 15, 2021 deadline to serve the notice of claims procedure and claim form
 5                    to class members, are VACATED;
 6          2.        All proceedings in this action are STAYED, except such proceedings that are
 7                    necessary to obtain preliminary and final approval of the parties’ class-wide
 8                    settlement; and
 9          3.        The Court PERMITS Plaintiffs’ Motion for Preliminary Approval (Dkt. No. 416) to
10                    be heard on December 16, 2021, on 34 days’ notice pursuant to Local Rule 7-2(a).
11          IT IS SO ORDERED.
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13
     Dated: ______
14                                                    William Alsup
                                                      United States District Judge
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                                                             Case No. 13-cv-03451 WHA
        JOINT STIPULATION TO VACATE DEADLINES, STAY ALL PROCEEDINGS, AND PERMIT 34-
                                                       DAY NOTICE; PROPOSED ORDER
     WEST/296639855
